           Case 2:18-cv-00196-TOR        ECF No. 1        filed 06/15/18     PageID.1 Page 1 of 12



 1

 2

 3

 4

 5

 6
                                  UNITED STATES DISTRICT COURT
 7
                                 EASTERN DISTRICT OF WASHINGTON
 8
     RAYMOND STEVENSON,                                   Civil Action No.: 2:18-CV-196
 9
                    Plaintiff,                            PLAINTIFF’S ORIGINAL COMPLAINT
10                                                        AND REQUEST FOR DAMAGES
     vs.                                                  PURUSANT TO THE FEDERAL FAIR
11                                                        CREDIT REPORTING ACT
     VERIZON WIRELESS SERVICES LLC,
12                                                        DEMAND FOR JURY TRIAL
                    Defendant
13
                                 PLAINTIFF'S ORIGINAL PETITION
14
     TO THE HONORABLE JUDGE OF SAID COURT:
15
             Plaintiff Raymond Stevenson (hereinafter Plaintiff) files this Original Petition and for
16
     cause of action will show the following:
17
                                                 PARTIES
18
     1.      Plaintiff Raymond Stevenson maintains a residence in the State of Washington in Lincoln
19
     County.
20

21   2.      Defendant VERIZON WIRELESS SERVICES LLC (hereinafter Defendant or

22   “Verizon”) is, upon information and belief, a Delaware limited liability company whose

23   registered agent is C T Corporation System, 711 Capitol Way S, Ste. 204, Olympia, WA 98501.

24
     PLAINTIFF’S ORIGINAL COMPLAINT                                        WALSH PLLC
                                                                           1561 Long Haul Road
                                                                           Grangeville, ID 83530
                                                      1                    (541) 359-2827
          Case 2:18-cv-00196-TOR         ECF No. 1         filed 06/15/18     PageID.2 Page 2 of 12



 1                                            JURISDICTION

 2   3.      The court has general jurisdiction, and in the alternative specific jurisdiction, over

 3   Defendant because, upon information and belief, (1) it has routinely and purposefully done

 4   business in the State of Washington, (2) it committed a tort in whole or in part in Washington
 5   against a Washington resident and/or (3) its minimum contacts with the State of Washington are
 6
     sufficient that substantial justice and fair play allow federal courts in Washington to exercise
 7
     jurisdiction over it.
 8
     4.      The Plaintiff is not currently seeking a total of more than the sum or value of $75,000.00,
 9
     exclusive of interest and costs.
10
                                                   VENUE
11
     5.      Venue is proper in the Western District of Washington. Specifically, venue is mandatory
12
     in the Western District of Washington because it is the county where all or a substantial part of
13
     the events or omissions giving rise to the claims occurred.
14
                                        FACTUAL ALLEGATIONS
15
     6.      In December of 2016, Verizon presented Plaintiff with a bill for $2,020.89. This amount
16
     did not reflect amounts contractually owed by Plaintiff to Verizon. Approximately $500 of the
17

18   stated amount due was for charges falsely and mistakenly entered onto Plaintiff’s account.

19   7.      Plaintiff spent several months thereafter disputing the charges with Verizon, during

20   which time Verizon reported the account as past due to credit bureaus.

21   8.      Verizon ultimately agreed that the amounts in question were not owed by Plaintiff and

22   agreed to make a “trade line deletion” on Plaintiff’s credit report. Verizon advised Plaintiff that

23   after the trade line deletion, his credit score would return to status quo ante.

24
     PLAINTIFF’S ORIGINAL COMPLAINT                                         WALSH PLLC
                                                                            1561 Long Haul Road
                                                                            Grangeville, ID 83530
                                                       2                    (541) 359-2827
           Case 2:18-cv-00196-TOR        ECF No. 1         filed 06/15/18     PageID.3 Page 3 of 12



 1   9.      On or around October 12, 2017, instead of making the agreed-to “trade line deletion,”

 2   Verizon filed amendments with all of the major credit bureaus, reporting the account as a “paid

 3   collection account.” According to communications between Verizon and Plaintiff, later the same

 4   day, Verizon alleges that they reported to the credit bureaus that Mr. Stevenson’s Verizon
 5   account should be deleted from his credit report.
 6
     10.     Despite their agreement with Plaintiff, Verizon continued to report the amount owed as a
 7
     “paid collection account.”
 8
     11.     Prior to this false credit reporting, Plaintiff’s credit score was in the 700s. For example,
 9
     in April of 2016, Plaintiff’s credit score was 735, as shown below.
10

11

12

13
     12.     In November 2017, after Verizon’s false credit reporting, Plaintiff’s credit score had
14
     fallen to 635, as shown below.
15

16

17

18

19

20
     13.     Plaintiff’s credit score remains artificially depressed. A credit report generated on or
21
     about January 18, 2018, excerpted below, shows that Plaintiff’s credit score was 646.
22

23

24
     PLAINTIFF’S ORIGINAL COMPLAINT                                         WALSH PLLC
                                                                            1561 Long Haul Road
                                                                            Grangeville, ID 83530
                                                       3                    (541) 359-2827
           Case 2:18-cv-00196-TOR          ECF No. 1        filed 06/15/18     PageID.4 Page 4 of 12



 1

 2

 3

 4
     14.      On information and belief, the primary cause of the deflation in Plaintiff’s credit score is
 5
     Verizon’s “paid collection” status.
 6

 7   15.      Plaintiff’s undeservedly low credit score has caused Plaintiff actual harm, including

 8   denials of loans, reduction of previously extended credit lines and other demonstrable harm.

 9   16.      Despite the repeated requests by Plaintiff and Plaintiff’s attorney, Verizon continually

10   failed to request a trade line deletion on Plaintiff’s credit report as promised. Verizon recently

11   sent a letter dated 4.18.18 purporting to have finally deleted the trade lines. However, the

12   Plaintiff has already suffered damages.

13   17.      The Plaintiff suffered actual damages as a result of Defendant's actions. The Plaintiff is

14   also entitled to recover attorneys' fees and costs.
15                  CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
               15 U.S.C. §1681, 15 U.S.C. §1681e(b) AND 15 U.S.C. §1681i(a)(1) et seq.
16         AGAINST VERIZON WIRELESS SERVICES LLC FOR CIVIL LIABILITY FOR
            WILLFUL NON-COMPLIANCE OF THE FAIR CREDIT REPORTING ACT
17
     18.      The averments contained in paragraphs 1 through 17 above are incorporated by reference
18
     as if set forth in their entirety.
19

20   19.      This action is based upon negligent violation of 15 U.S.C. §1681, 15 U.S.C. §1681e(b),

21   15 U.S.C. §1681i(a)(1) et seq., more commonly referred to as the Fair Credit Reporting Act for

22   Civil Liability for Negligent Non-Compliance.

23

24
     PLAINTIFF’S ORIGINAL COMPLAINT                                          WALSH PLLC
                                                                             1561 Long Haul Road
                                                                             Grangeville, ID 83530
                                                        4                    (541) 359-2827
           Case 2:18-cv-00196-TOR        ECF No. 1         filed 06/15/18     PageID.5 Page 5 of 12



 1   20.     This action arises from Verizon’s failure to conduct a good faith re-investigation

 2   regarding credit information reported by an entity or an individual which is unknown to the

 3   Plaintiff, upon notice of dispute by Plaintiff and after having received and/or its failure to receive

 4   a completed or accurately completed Consumer Dispute Verification Form from the reporting
 5   entity and the failure to take those measures reasonably necessary and required under 15 U.S.C.
 6
     §1681i(a)(1)(A), (3)(C), (4), (5)(A, C) and (6)(A) and (B).
 7
     21.     Verizon negligently employed, adopted and used reporting and investigating techniques,
 8
     policies and procedures and failed to properly and timely re-investigate and satisfy its statutory
 9
     duties as set forth in the above paragraphs, which resulted in the continued negligent furnishing
10
     and reported on a repeated basis of false, incomplete, erroneous, adverse and unverifiable
11
     information of and concerning Plaintiff’s credit reporting regarding the Plaintiff, including the
12
     negligent reporting of Plaintiff’s accounts as “paid collection” accounts.
13
     22.     The aforesaid negligent false, incomplete, inaccurate, erroneous and unverifiable and
14
     adverse reporting or credit information of and concerning Plaintiff, regarding information noted
15
     in the Plaintiff’s credit report and the failure of Verizon to take those remedial measures
16
     necessary and foreseeable to re-investigate and correct the negative, inaccurate, incomplete,
17

18   erroneous, adverse and/or unverifiable adverse credit information reported by the public entity

19   and Plaintiff’s dispute of the credit reporting, evidence negligent acts and omissions by Verizon.

20   The continued negligent reporting of the negative, inaccurate, incomplete, erroneous adverse

21   and/or unverifiable credit information were in violation of Verizon’s statutory duties, obligations

22   and requirements and were the product of Verizon’s negligent reporting policies, procedures and

23   techniques. These failures, acts, conduct and omissions were not justified on the facts which

24
     PLAINTIFF’S ORIGINAL COMPLAINT                                         WALSH PLLC
                                                                            1561 Long Haul Road
                                                                            Grangeville, ID 83530
                                                       5                    (541) 359-2827
           Case 2:18-cv-00196-TOR         ECF No. 1        filed 06/15/18     PageID.6 Page 6 of 12



 1   were known or should have been known to Verizon and evidence a negligent disregard to the

 2   consequence of its actions, omissions, policies, procedures and techniques regarding re-

 3   investigation.

 4   23.     Verizon negligently adopted, employed, used and continued to adopt, employ and use
 5   credit reporting techniques, policies and procedures which it knew or should have known to be
 6
     deficient and negligent as to the accuracy of information reported and negligently failed to
 7
     follow reasonable procedures to assure maximum possible accuracy of credit information
 8
     reported upon re-investigation, including the negligent failure to re-verify adverse credit
 9
     information in subsequent credit reports.
10
     24.     Upon re-investigation, Verizon negligently conducted a re-investigation and negligently
11
     continued to gather, assemble, edit, publish, circulate and distribute adverse, erroneous,
12
     incomplete and adverse credit information of and concerning the Plaintiff. The foregoing has
13
     been and continues to be in negligent disregard as to the falsity of the contents, allegations and
14
     statements contained or omitted in Plaintiff’s credit reports and credit files and is in negligent
15
     disregard to the consequence of the information reported or omitted and to the effects and
16
     consequences thereof to Plaintiff.
17

18   25.     As a direct result of Verizon’s negligent non-compliance with its duties, obligations and

19   requirements under the Fair Credit Reporting Act as stated above, Plaintiff has suffered and

20   sustained damages and has a private cause of action against Verizon pursuant to 15 U.S.C. §1681

21   and 15 U.S.C. §1681i(a)(1) et. seq. The nature and extent of Plaintiff’s damages are:

22           (a)   Injury and damage to Plaintiff for embarrassment, humiliation, suffering, mental

23                 pain and anguish, all of which were foreseeable:

24
     PLAINTIFF’S ORIGINAL COMPLAINT                                         WALSH PLLC
                                                                            1561 Long Haul Road
                                                                            Grangeville, ID 83530
                                                       6                    (541) 359-2827
           Case 2:18-cv-00196-TOR         ECF No. 1        filed 06/15/18     PageID.7 Page 7 of 12



 1           (b)   Injury and damage to Plaintiff’s financial mobility, credit rating and credit

 2                 worthiness, all of which were foreseeable; and

 3           (c)   Inability to obtain credit for financing, credit cards and the purchase of other goods

 4                 and services under credit, all of which were foreseeable.
 5   27.     Plaintiff has retained the undersigned attorneys to represent his interests in this matter
 6
     and Plaintiff is entitled to attorney’s fees pursuant to 15 U.S.C. §1681o.
 7
           CAUSE OF ACTION FOR WILLFUL VIOLATION OF 15 U.S.C. §1681, 15 U.S.C.
 8          §1681e(b) AND 15 U.S.C. §1681i(a)(1) et seq. AGAINST VERIZON FOR CIVIL
                        LIABILITY FOR WILLFUL NON-COMPLIANCE.
 9

10   28.     The averments contained in paragraphs 1 through 17 above are incorporated by reference

11   as if set forth in their entirety.

12   29.     This action is based upon willful violation of 15 U.S.C. §1681o, 15 U.S.C. §1681i(a)(1)

13   et seq., more commonly referred to as the Fair Credit Reporting Act for Civil Liability for

14   Negligent Non-Compliance.

15   30.     This action arises from Verizon’s willful failure to conduct a good faith re-investigation

16   regarding credit information after dispute. Verizon’s willful failure to take those measures
17   reasonably necessary and required under 15 U.S.C. §1681i(a)(1 )(A), (2), (3)(C), (4), (5)(A) and
18
     (6)(A) and (B).
19
     31.     Verizon willfully conducted an improper statutory re-investigation of Plaintiff’s dispute
20
     of credit information reported by the public entity by:
21
             a.    Willfully failing to follow reasonable procedures to assure maximum possible
22
                   accuracy of credit information reported upon re-investigation and notice by
23
                   Plaintiff;
24
     PLAINTIFF’S ORIGINAL COMPLAINT                                         WALSH PLLC
                                                                            1561 Long Haul Road
                                                                            Grangeville, ID 83530
                                                       7                    (541) 359-2827
           Case 2:18-cv-00196-TOR        ECF No. 1         filed 06/15/18     PageID.8 Page 8 of 12



 1           b.   Willfully failing to follow reasonable procedures to assure maximum possible

 2                accuracy of credit information reported;

 3           c.   Willfully failing to request a deletion of its reporting after an improper statutory re-

 4                investigation;
 5           d.   Willfully failing to delete the items of information reported on Plaintiff’s
 6
                  consumer’s files and credit reports upon re-investigation of the Plaintiff’s files
 7
                  where the item and information is found to be inaccurate, incomplete or cannot be
 8
                  verified;
 9
             e.   Willfully failing to adopt, implement and enforce reasonable procedures to assure
10
                  maximum possible accuracy of information reported upon re-investigation.
11
     32.     Verizon willfully adopted and used reporting and re-investigation techniques, policies
12
     and procedures that resulted in the willful furnishing and negligent reporting on a repeated bases
13
     of false, incomplete, inaccurate, erroneous, adverse and unverifiable information of and
14
     concerning Plaintiff’s credit history and credit worthiness, notwithstanding having actual
15
     knowledge of Plaintiff’s dispute of the public record information.
16
     33.     Verizon willfully employed, adopted and used reporting and investigating techniques,
17

18   policies and procedures and failed to properly and timely re-investigate and satisfy its statutory

19   duties as set forth above, which resulted in the continued willful furnishing and reported on a

20   repeated basis of false, incomplete, erroneous, adverse and unverifiable information of and

21   concerning Plaintiff’s credit reporting regarding the Plaintiff.

22   34.     The aforesaid willful false, incomplete, inaccurate, erroneous and unverifiable and

23   adverse reporting or credit information of and concerning Plaintiff and the failure of Verizon to

24
     PLAINTIFF’S ORIGINAL COMPLAINT                                         WALSH PLLC
                                                                            1561 Long Haul Road
                                                                            Grangeville, ID 83530
                                                       8                    (541) 359-2827
           Case 2:18-cv-00196-TOR        ECF No. 1         filed 06/15/18     PageID.9 Page 9 of 12



 1   take those remedial measures necessary and foreseeable to re-investigate and correct the

 2   negative, inaccurate, incomplete, erroneous, adverse and/or unverifiable adverse credit

 3   information reported by the public entity and Plaintiff’s dispute of the credit reporting, evidence

 4   willful acts and omissions by Verizon. The continued willful reporting of the negative,
 5   inaccurate, incomplete, erroneous adverse and/or unverifiable credit information were in
 6
     violation of Verizon’s statutory duties, obligations and requirements and were the product of
 7
     Verizon’s willful reporting policies, procedures and techniques. These failures, acts, conduct and
 8
     omissions were not justified on the facts which were known or should have been known to
 9
     Verizon and evidence a willful disregard to the consequence of its actions, omissions, policies,
10
     procedures and techniques regarding re-investigation. The repeated reporting and publication
11
     upon re-investigation of the disputed reported public record information and the failure to place
12
     in Plaintiff’s credit files and credit reports her written dispute of the public record information
13
     constitute willful re-investigation and reporting of false, inaccurate and incomplete credit
14
     information of and concerning the Plaintiff and Verizon’s reporting the public record information
15
     in willful disregard and indifference to the truth or falsity of the credit information reported or
16
     omitted.
17

18   35.     Verizon willfully adopted, employed, used and continued to adopt, employ and use credit

19   reporting techniques, policies and procedures which it knew or should have known to be

20   deficient and negligent as to the accuracy of information reported and willfully failed to follow

21   reasonable procedures to assure maximum possible accuracy of credit information reported upon

22   re-investigation, including the willful failure to re-verify adverse credit information in

23   subsequent credit reports.

24
     PLAINTIFF’S ORIGINAL COMPLAINT                                         WALSH PLLC
                                                                            1561 Long Haul Road
                                                                            Grangeville, ID 83530
                                                       9                    (541) 359-2827
       Case 2:18-cv-00196-TOR           ECF No. 1      filed 06/15/18    PageID.10 Page 10 of 12



 1   36.    Verizon willfully continued to report the public record information, notwithstanding

 2   actual or constructive knowledge of the underlying facts, events and occurrences and willfully

 3   failed to comply with statutory requirements. The forgoing has caused and continues to cause

 4   Plaintiff extreme and continuing humiliation, pain, embarrassment, injury and financial and
 5   credit immobility.
 6
     37.    Upon re-investigation, Verizon willfully conducted a re-investigation and willfully
 7
     continued to gather, assemble, edit, publish, circulate and distribute adverse, erroneous,
 8
     incomplete and adverse credit information of and concerning the Plaintiff. The foregoing has
 9
     been and continues to be in willful disregard as to the falsity of the contents, allegations and
10
     statements contained or omitted in Plaintiff’s credit reports and credit files as prepared, generated
11
     and maintained by Verizon and is in willful disregard to the consequence of the information
12
     reported or omitted and to the effects and consequences thereof to Plaintiff. Verizon’s willful re-
13
     investigation and willful disregard to the truth, falsity, accuracy and completeness of information
14
     reported by it evidences the willful manner in which it conducts, performs, carries out and
15
     protects its business, business interests and operations.
16
     38.    As a direct result of Verizon’s willful non-compliance with its duties, obligations and
17

18   requirements under the Fair Credit Reporting Act as stated above, Plaintiff has suffered and

19   sustained damages and has a private cause of action against Verizon pursuant to 15 U.S.C.

20   §1681o and 15 U.S.C. §1681i(a)(1) et. seq. The nature and extent of Plaintiff’s damages are:

21          a.    Injury and damage to Plaintiff for embarrassment, humiliation, suffering, mental

22                pain and anguish, all of which were foreseeable:

23

24
     PLAINTIFF’S ORIGINAL COMPLAINT                                     WALSH PLLC
                                                                        1561 Long Haul Road
                                                                        Grangeville, ID 83530
                                                      10                (541) 359-2827
       Case 2:18-cv-00196-TOR            ECF No. 1      filed 06/15/18     PageID.11 Page 11 of 12



 1            b.   Injury and damage to Plaintiff’s financial mobility, credit rating and credit

 2                 worthiness, all of which were foreseeable; and

 3            c.   Inability to obtain credit for financing, credit cards and the purchase of other goods

 4                 and services under credit, all of which were foreseeable; and
 5            d.   Punitive damages.
 6
     39.      Plaintiff has retained the undersigned attorneys to represent her interests in this matter
 7
     and is obligated to pay said attorneys a reasonable fee for services rendered. Plaintiff is entitled
 8
     to attorney’s fees pursuant to 15 U.S.C. §1681o.
 9
                                           PRAYER FOR RELIEF
10
     40.      For these reasons, Plaintiff prays that the Defendant be cited to appear and answer herein,
11
     and that Plaintiff have judgment for damages within the jurisdictional limits of the court and
12
     against Defendant for:
13
             i.    actual damages;
14
            ii.    statutory damages;
15
           iii.    pre-judgment and post-judgment interest at the highest legal rate;
16
           iv.     legally-available reasonable and necessary attorneys' fees;
17

18          v.     costs; and

19         vi.     all other relief, general and special, legal and equitable, to which Plaintiff is

20                 entitled.

21
                          PLAINTIFF HEREBY MAKES HIS DEMAND FOR JURY TRIAL
22

23   Dated this 15th day of June, 2018.

24
     PLAINTIFF’S ORIGINAL COMPLAINT                                       WALSH PLLC
                                                                          1561 Long Haul Road
                                                                          Grangeville, ID 83530
                                                        11                (541) 359-2827
      Case 2:18-cv-00196-TOR     ECF No. 1   filed 06/15/18   PageID.12 Page 12 of 12



 1                                           Respectfully submitted,

 2                                           s/ Bonner C. Walsh
                                             Bonner C. Walsh
 3                                           WSBA # 48915
                                             WALSH PLLC
 4                                           1561 Long Haul Road
                                             Grangeville, ID 83530
 5                                           bonner@walshpllc.com
                                             TEL (541) 359-2827
 6
                                             FAX (866) 503-8206
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24
     PLAINTIFF’S ORIGINAL COMPLAINT                           WALSH PLLC
                                                              1561 Long Haul Road
                                                              Grangeville, ID 83530
                                             12               (541) 359-2827
